Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 1:19-CV-23084-WILLIAMS-TORRES

   OMAR SANTOS and AMANDA                         )
   CLEMENTS on behalf of themselves and           )
   all others similarly situated,                 )
                                                  )
                  Plaintiffs,                     )       CASE NO. 1:19-cv-23084-KMW
                                                  )
          v.                                      )
                                                  )
   HEALTHCARE REVENUE RECOVERY                    )
   GROUP, LLC d/b/a ARS ACCOUNT                   )
   RESOLUTION SERVICES, and                       )
   EXPERIAN INFORMATION                           )
   SOLUTIONS, INC.,                               )
                                                  )
                  Defendants.
                                                  /

        MOTION OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.
        FOR LEAVE TO FILE A SECOND MOTION FOR SUMMARY JUDGMENT

         Defendant Experian Information Solutions, Inc., (“Experian”) respectfully moves for leave

  to file a second motion for summary judgment, in accordance with Local Rule 7.1(c)(2).

        On March 6, 2020, Experian filed a motion for summary judgment on two preliminary

  issues that could have potentially disposed of the case in an efficient manner without the need for

  further discovery. ECF No. 39. First, Experian argued that Plaintiffs’ two claims under the Fair

  Credit Reporting Act (FCRA) each require proof that an inaccurate credit report caused Plaintiffs

  some damage, such as the denial of credit. Id. at 1-2. And, Experian explained, discovery at that

  time had already established that Plaintiffs had suffered no injury from the inaccuracies they

  alleged. Second, Experian argued that Plaintiffs’ reinvestigation claim under 15 U.S.C. § 1681i

  fails for the additional reason that Plaintiffs’ letters complaining about “re-aging” did not notify

  Experian of the inaccuracy in their consumer reports that they seek to litigate here. Id.
Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 2 of 6




        Experian also sought a stay of discovery at that time, in light of its argument that all claims

  should be dismissed on the existing record. ECF No. 41. This Court denied the stay, however,

  and discovery continued. ECF No. 49. All discovery will close on April 5, 2021, per this Court’s

  scheduling order. ECF No. 54.

        On March 22, 2021, this Court ruled on Experian’s first summary judgment motion. ECF

  No. 83. The Court agreed with Experian that, as a matter of law, “Plaintiffs must not only establish

  an inaccurate credit report, but also that the report caused them harm.” Id. at 8, 11. But the Court

  denied summary judgment in order to provide Plaintiffs with “an opportunity to conduct

  discovery” on whether the alleged errors in fact caused Plaintiffs harm, and on “the meaning and

  breadth of the term ‘re-aging.’” Id. at 11 n.3, 12.

        Discovery is now complete, and Experian respectfully seeks leave to renew its motion for

  summary judgment. As the attached motion explains, after more than a year of additional

  discovery, Plaintiffs still have produced no evidence that they were ever denied credit or otherwise

  injured because of any inaccuracy in their consumer reports. Nor have Plaintiffs provided any

  support for their contention that the “re-aging” allegation in their dispute letters put Experian on

  notice of the claims that are now being litigated here. For these reasons and several others,

  summary judgment should be granted at this time.

        Local Rule 7.1(c)(2), which governs the length of motions, requires parties to obtain the

  Court’s approval prior to filing “multiple motions for partial summary judgment.” See, e.g.,

  Romeo v. Israel, No. 13-61411-CIV-MARRA/MATTHEWMAN, 2017 WL 11583982, at *1 (S.D.

  Fla. June 23, 2017) (granting motion for leave). A key purpose of this rule is to prevent parties

  from using partial motions to “avoid the page limitation.” Gannon v. IC Sys., Inc., No. 09–60302–




                                                   2
Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 3 of 6




  CIV, 2009 WL 3097202, at *1 n.2 (S.D. Fla. Sep. 23, 2009); Novartis Consumer Health, Inc. v.

  Elan Transdermal Techs., Inc., 209 F.R.D. 507, 508 (S.D. Fla. Sep. 11, 2002).

        Leave to file a second motion for summary judgment is warranted here for several reasons.

  First, Experian has a legitimate purpose for filing its second motion. As explained, lack of

  discovery was the Court’s primary reason for denying Experian’s first motion for summary

  judgment, and the Court’s order itself anticipated that a second motion would be proper. See ECF

  No. 83 at 12 (stating that summary judgment is “unwarranted at this time”). Now that discovery

  is complete, the Court can consider dispositive motions based on the full record.

        Second, this request is plainly not a procedural tactic to avoid page limits through multiple

  partial motions. Experian initially filed a narrow motion long before the close of discovery in an

  effort to conserve resources and dispose of the case expeditiously. See Benzion v. Vivint, Inc., No.

  12-61826-CIV-ZLOCH/HUNT, 2013 WL 12014439, at *3 (S.D. Fla. Sep. 9, 2013) (nothing that

  Rule 7.1(c)(2) is designed to “conserve[] judicial resources”). Although the motion was not

  successful, the Court’s order agreed with Experian’s statement of law, helping to streamline this

  case by clarifying the governing legal framework.

        Third, Experian’s motion will further allow this Court to conserve judicial resources by

  avoiding the need for trial. As the motion explains, summary judgment is warranted on multiple

  grounds based on the full discovery record. No costly trial is necessary.

        Fourth, Experian’s motion is otherwise procedurally proper. Experian seeks to file a single

  consolidated motion for summary judgment by the Court’s stipulated deadline for dispositive

  motions—April 5, 2021. See Romeo, 2017 WL 11583982, at *1 (granting leave to file motion in

  part because “the deadline for filing summary judgment motions . . . has not yet passed”).

         WHEREFORE, Experian respectfully requests entry of an order granting leave to file the



                                                   3
Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 4 of 6




  attached motion for summary judgment. Experian’s proposed second motion for summary

  judgment is attached hereto as Exhibit A, and its proposed statement of material facts in support

  of that motion (along with corresponding exhibits) is attached hereto as Exhibit B.

                       RULE 7.1(a)(3) CERTIFICATE OF CONFERENCE

         The undersigned counsel certifies that on April 5, 2021, counsel for Experian conferred

  with counsel for Plaintiffs in a good faith effort to resolve the issues raised in this motion. Counsel

  for Plaintiffs stated that Plaintiffs oppose Experian’s requested relief. Counsel for co-defendant

  Healthcare Revenue Recovery Group, LLC does not oppose Experian’s requested relief.

                                                     /s/ A. M. Cristina Pérez Soto
                                                     A.M. Cristina Pérez Soto




                                                    4
Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 5 of 6




   Dated: April 5, 2021                    Respectfully submitted,



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                                       5
Case 1:19-cv-23084-KMW Document 92 Entered on FLSD Docket 04/05/2021 Page 6 of 6




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 5, 2021, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all

  counsel or parties of record.




                                                      /s/ A.M. Cristina Pérez Soto
                                                      A.M. Cristina Pérez Soto




                                                  6
